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 Attorney for Gary L. Rainsdon, Trustee

                            UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF IDAHO
  In Re:
                                                  Case No. 19-40753-JMM
  MATTHEW STEVEN DUGAN and DEMI
  CAMILLE DUGAN,                                  Chapter 7

                           Debtors.
                OBJECTION TO DEBTOR’S MOTION FOR ABANDONMENT

           COMES NOW Gary L. Rainsdon, the Chapter 7 Trustee (“Trustee”) in the above captioned

 bankruptcy case, by and through counsel, Rhett M. Miller of Parsons, Smith, Stone, Loveland and

 Shirley, LLP, and hereby objects to the Debtor’s Motion for Abandonment of Matt-A-Moo Dairy,

 LLC (Dkt. No. 120) (“Motion”) as follows:

                                                  LAW

           Section 554(b) provides that “on request of a party in interest and after
           notice and a hearing, the court may order the trustee to abandon any
           property of the estate that is burdensome to the estate or that is of
           inconsequential value and benefit to the estate.” The moving party has the
           burden of establishing that the property at issue is burdensome or of
           inconsequential value and benefit to the estate. An order to compel
           abandonment is the exception, not the rule. Compelled abandonment under
           § 554(b) is generally reserved for instances where a trustee is merely
           churning property worthless to the estate just to increase fees.

 In re Gill, 574 B.R. 709, 714 (B.A.P. 9th Cir. 2017) (internal citations omitted) (emphasis

 added).

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                                               OBJECTION

        1.      Certain checks relating to the sale of livestock have been issued to Matt-A Moo

 Dairy, LLC, Matt-A Moos Calves, LLC and Sunshine Heifers, LLC. Such checks relate to the sale

 of cattle which appear to have been owned by the Debtors herein. Such checks have a face value

 of $107,714.93.

        2.      The Trustee asserts that the livestock at issue were owned by the Debtors and not

 Matt-A-Moo Dairy, LLC, Matt-A-Moo Calves, LLC, or Sunshine Heifers.

        3.      On June 6, 2020 the Trustee filed a Motion to Approve Compromise with Sunshine

 Heifers relating to the disposition of the livestock checks (Dkt. No. 110). Such motion was objected

 to by Debtors (Dkt. No. 113) and Angstman Johnson (Dkt. No. 114) and ultimately denied by this

 Court’s Order Re: Motion to Approve Rule 9019 Compromise with Sunshine Heifers, LLC on

 February 17, 2021 (Dkt. No. 118).

        4.      Debtor’s have made no showing that Matt-A-Moos Dairy, LLC is “burdensome or

 of inconsequential value and benefit to the estate.”

        5.      Trustee continues to actively work towards final disposition of the livestock checks,

 and is prepared to place Matt-A-Moos Dairy, LLC into bankruptcy if a suitable resolution is not

 forthcoming.

        6.      At this time, the Trustee believes that a liquidation of Matt-A-Moos, Dairy, LLC

 may yield a surplus for the Dugan estate.

        WHEREFORE, the Trustee respectfully requests that this Court deny Debtor’s Motion

 for Abandonment.

                DATED August 12, 2021.




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                                      PARSONS, SMITH, STONE, LOVELAND & SHIRLEY, LLP



                                      Rhett M. Miller
                                      Counsel for Chapter 7 Trustee, Gary L. Rainsdon


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 12, 2021 a copy of the foregoing document was
 filed with the Court via CM/ECF, and the following parties are reflected as receiving the Notice
 of Electronic Filing as CM/ECF Registered Participants:

        Romeo Kade Beorchia on behalf of Creditor Sunshine Heifers, LLC
        kade@worstandassociates.com

        David W. Gadd on behalf of Creditor Sunshine Heifers, LLC
        dwg@magicvalleylaw.com, jfb@magicvalleylaw.com

        David W. Gadd on behalf of Plaintiff Sunshine Heifers, LLC
        dwg@magicvalleylaw.com, jfb@magicvalleylaw.com

        Matthew W Grimshaw on behalf of Defendant Demi Camille Dugan
        matt@grimshawlawgroup.com

        Matthew W Grimshaw on behalf of Defendant Matthew Steven Dugan
        matt@grimshawlawgroup.com

        Rhett Michael Miller on behalf of Trustee Gary L Rainsdon
        rhett@pmt.org

        Chad Moody on behalf of Interested Party Angstman Johnson
        chad@angstman.com,
        megan@angstman.com;caroline@angstman.com;abbie@angstman.com;ecf@angstman.c
        om

        Jason Ronald Naess on behalf of Trustee Gary L Rainsdon
        jason@pmt.org

        Gary L Rainsdon
        trustee@filertel.com, id12@ecfcbis.com;lori@filertel.com;cblackburn@filertel.com

        Gary L Rainsdon on behalf of Auctioneer U.S. Auctions LLC
        trustee@filertel.com, id12@ecfcbis.com;lori@filertel.com;cblackburn@filertel.com

        Gary L Rainsdon on behalf of Trustee Gary L Rainsdon

 OBJECTION TO DEBTOR’S MOTION FOR ABANDONMENT                                                       3
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        trustee@filertel.com, id12@ecfcbis.com;lori@filertel.com;cblackburn@filertel.com

        Brent T Robinson on behalf of Debtor Matthew Steven Dugan
        btr@idlawfirm.com, bcl@idlawfirm.com;bjh@idlawfirm.com

        Brent T Robinson on behalf of Joint Debtor Demi Camille Dugan
        btr@idlawfirm.com, bcl@idlawfirm.com;bjh@idlawfirm.com

        US Trustee
        ustp.region18.bs.ecf@usdoj.gov

 Any other CM/ECF registered recipients not reflected herein.

                                     PARSONS, SMITH, STONE, LOVELAND & SHIRLEY, LLP



                                     Rhett M. Miller
                                     Counsel for Chapter 7 Trustee, Gary L. Rainsdon




 OBJECTION TO DEBTOR’S MOTION FOR ABANDONMENT                                                4
